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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

  GABRIEL LUIS SANTOS,
      Petitioner,

         v.                                         Case No. 2:20-cv-187-JLB-NPM

  UNITED STATES OF AMERICA,
      Respondent.


               UNITED STATES’ RESPONSE IN OPPOSITION TO
             PETITIONER’S MOTION TO VACATE, SET ASIDE, OR
             CORRECT SENTENCE PURSUANT TO 28 U.S.C. § 2255

        Pursuant to 28 U.S.C. § 2255, the Rules Governing Section 2255

  Proceedings, and this Court’s order dated November 2, 2020, the United States

  hereby responds in opposition to Petitioner’s Motion Under § 2255 to Vacate,

  Set Aside, or Correct Sentence. Civ. Doc. 7.1

  I.     STATEMENT OF THE CASE AND FACTS

         A.     Statement of Facts2

         On December 1, 2018, Khai Franscisco Victor Marrero (“Marrero”) and

  Gabriel Luis Santos (“Petitioner”) conspired to rob T.G.J. of marijuana. In


         1
            References to filings in United States v. Gabriel Luis Santos, Criminal Case
  Number 2:18-cr-218-JLB-NPM, are cited as “Doc. [document number].” References
  to filings in Gabriel Luis Santos v. United States, Civil Case Number 2:20-cv-JLB-NPM,
  are cited as “Civ. Doc. [document number].”
          2
            The facts contained in this Response derive directly from the factual basis
  section of the Plea Agreement, explicitly admitted to by the Petitioner as true. Doc.
  36, 16-18.
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  furtherance of their scheme, Marrero contacted T.G.J. and arranged to

  purchase one-quarter pound of marijuana from him. T.G.J. agreed to meet

  Marrero near T.G.J.’s residence in Fort Myers to conduct the transaction.

  Marrero and Petitioner drove to the planned meeting location in Marrero’s

  vehicle, a green Suzuki Forenza, with Marrero driving and Petitioner seated in

  the front passenger seat. Both Marrero and Petitioner were in possession of

  loaded firearms – Marrero had a loaded Diamondback .380 caliber pistol (S/N

  ZD0289) and Petitioner had a loaded Sig Sauer .40 caliber pistol (S/N

  AL14886). Once they arrived at the planned meeting location, Petitioner exited

  the vehicle and hid behind exterior residential air-conditioning units while

  Marrero waited in the vehicle for T.G.J.

        Soon thereafter, T.G.J. entered the front passenger seat of Marrero’s

  vehicle and handed Marrero marijuana, expecting to receive cash in exchange

  for the drugs. At approximately the same time, Petitioner approached the

  vehicle wearing a ski-mask and pointed his Sig Sauer pistol at T.G.J. As

  Petitioner approached T.G.J., T.G.J. reacted by kicking at Petitioner, and

  Petitioner discharged his Sig Sauer firearm at T.G.J., striking T.G.J. in the chest

  with a single bullet. After he was shot, T.G.J. exited the vehicle, Petitioner re-

  entered the vehicle, and Marrero drove he and Petitioner away from the scene.




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        Later that night, Fort Myers Police Department (FMPD) officers

  conducted a traffic stop on Marrero’s green Suzuki Forenza. Marrero was

  driving the vehicle, Petitioner was in the front passenger seat, and F.D. was

  seated in the rear of the vehicle. A black backpack was located between

  Marrero’s legs that contained, among other items, a large plastic baggie of

  marijuana and a loaded Diamondback .380 caliber pistol (S/N ZD0289). A

  second black backpack was located in the vehicle between Petitioners’ legs that

  contained, among other items, a large baggie of marijuana, $2,360 in U.S.

  currency, and a black ski-mask. In the glove-box directly in front of where

  Petitioner had been seated, officers located a loaded Sig Sauer .40 caliber pistol

  (S/N AL14886) with an extended magazine.

        B.     Relevant Procedural History

        On April 18, 2019, Petitioner pled guilty to Counts One and Two of a

  Superseding Information (Doc. 35) pursuant to a written Plea Agreement (Doc.

  36) in this case. Count One charged the Petitioner with Interference with

  Commerce by Robbery (Hobbs Act), in violation of 18 U.S.C. §§ 1951(a) and 2,

  and Count Two charged Petitioner with Using, Carrying, and Discharging a

  Firearm in Furtherance of a Violent Crime, in violation of 18 U.S.C.

  § 924(c)(1)(A)(iii) and 2. Id.   On July 29, 2019, United States District Court

  Judge Thomas P. Barber sentenced the Petitioner to serve 70 months




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  imprisonment on Count One and 120 months imprisonment on Count Two, to

  run consecutively, for a total term of imprisonment of 190 months, followed by

  a term of supervised release. Docs. 54 and 55.

        On March 19, 2020, Petitioner filed a Motion Pursuant to 28 U.S.C.

  § 2255, raising one ground for relief. Civ. Doc. 1. On May 21, 2020, Judge

  Barber ordered the Petitioner to re-file his motion in compliance with the Rules

  Governing Section 2255 Proceedings by using the standard pre-printed § 2255

  form approved by the Judicial Conference of the United States. Civ. Doc. 5.

  Judge Barber further ordered that the Petitioner’s amended motion must be filed

  by June 12, 2020, or his post-conviction case would be dismissed. Id.

        On June 29, 2020, Petitioner’s Amended Motion to Vacate Pursuant to

  28 U.S.C. § 2255 was docketed in the Fort Myers Division. Civ. Doc. 7. The

  envelope in which the Petitioner mailed his amended § 2255 motion indicates

  that it was placed in the prison mailing system at USP Lewisburg on June 22,

  2020. Civ. Doc. 7-1. On August 27, 2020, this Court entered an order denying

  the Petitioner’s initial § 2255 motion (Civ. Doc. 1) as moot. Civ. Doc. 8. On

  November 2, 2020, this Court ordered the United States to respond to the

  Petitioner’s amended § 2255 motion on or before February 2, 2021. Civ. Doc.

  9.




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        The Petitioner has not previously sought direct appellate relief in

  connection with this case, and the instant § 2255 motion is effectively the

  Petitioner’s first post-conviction motion.

        C.     Petitioner’s Amended § 2255 Motion

        Petitioner’s amended § 2255 motion (Civ. Doc. 7) is a 26-page filing

  which is comprised of two parts. In the first 12 pages, which are hand written

  using the standard pre-printed § 2255 form (“Part I”), the Petitioner raises one

  ground and incorporates his initial § 2255 motion. Civ. Doc. 7, 1-12. In Part

  I, the Petitioner alleges that his trial counsel, Roy Foxall, provided ineffective

  assistance of counsel in violation of the Sixth Amendment by failing to file an

  appeal as he was instructed to do by the Petitioner. Id.

        In the final 14 pages, which are hand written on plain paper (“Part II”),

  the Petitioner raises what he categorizes as three separate “issues” which merit

  relief from the court. Id. at 13-26. Although at times it is difficult to decipher,

  Petitioner’s grounds in Part II concern claims that his crimes of conviction are

  based on unconstitutionally vague or ambiguous statutes, and that he lacked the

  necessary mens rea for conviction. Id.




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  II.    MEMORANDUM OF LAW

        A.     Burden of proof

        In general, on collateral review the petitioner bears the burden of proof

  and persuasion on each and every aspect of his claim, see In re Moore, 830 F.3d

  1268, 1272 (11th Cir. 2016) (collecting cases), which is “a significantly higher

  hurdle than would exist on direct appeal” under plain error review. See United

  States v. Frady, 456 U.S. 152, 164–66 (1982). Accordingly, if this Court “cannot

  tell one way or the other” whether the claim is valid, then the defendant has

  failed to carry his burden. Moore, 830 F.3d at 1273; cf. United States v. Rodriguez,

  398 F.3d 1291, 1300 (11th Cir. 2005) (in plain error review, “the burden truly is

  on the defendant to show that the error actually did make a difference . . . .

  Where errors could have cut either way and uncertainty exists, the burden is the

  decisive factor in the third prong of the plain error test, and the burden is on the

  defendant.”). In this case, Petitioner Santos cannot meet this burden.

         B.    Timeliness

         Section 2255 allows a prisoner one year to file a motion seeking relief

  from his conviction and sentence. The one-year period runs from the latest of:

         (1)    the date on which the judgment of conviction becomes
                final;

         (2)    the date on which the impediment to making a motion
                created by governmental action in violation of the
                Constitution or laws of the United States is removed, if the



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               movant was prevented from making a motion by such
               governmental action;

        (3)    the date on which the right asserted was initially recognized
               by the Supreme Court, if that right has been newly
               recognized by the Supreme Court and made retroactively
               applicable to cases on collateral review; or

        (4)    the date on which the facts supporting the claim or claims
               presented could have been discovered through the exercise
               of due diligence.

        28 U.S.C. § 2255(f).

        On July 31, 2019, the Court filed a judgment of conviction in this case.

  Doc. 55. The judgment of conviction became final 14 days later, when the

  defendant’s time for filing a notice of appeal expired. Fed. R. App. P. 4(b); see

  Akins v. United States, 204 F.3d. 1086, 1089 n.1 (11th Cir. 2000) (if defendant

  does not pursue direct appeal, conviction becomes final when time for filing

  direct appeal expires). Therefore, the Petitioner had until August 14, 2020 to

  file his § 2255 motion. As this Court noted in its November 2, 2020 scheduling

  order, the Petitioner “filed” the instant § 2255 motion on June 22, 2020, when

  he placed it in the prison mailing system, and so his motion is timely under the

  applicable statute. See Washington v. United States, 243 F.3d 1299, 1300 (11th

  Cir. 2001) (pleadings filed by an incarcerated petitioner are deemed filed on the

  date they were placed into the prison’s official mail system).




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         However, although Petitioner’s motion is statutorily timely, it is untimely

  under Judge Barber’s May 21, 2020 order that directed the Petitioner to file an

  amended post-conviction motion by June 12, 2020, or risk dismissal of his case.

  Civ. Doc. 5. Significantly, the Petitioner never sought to extend Judge Barber’s

  filing deadline or provide any explanation for his delay. Therefore, before even

  considering the merits of Petitioner’s amended § 2255 motion, this Court should

  dismiss Petitioner’s motion as untimely, unless he can provide a compelling

  reason justifying his late filing in violation of the Court’s order.

         C.     Cognizability

         Section 2255 authorizes an attack on a sentence on four grounds: (1) it

  was imposed in violation of the Constitution or laws of the United States; (2) it

  was imposed without jurisdiction; (3) it exceeds the maximum authorized by

  law; or (4) it is otherwise subject to collateral attack. 28 U.S.C. § 2255.

  Petitioner’s claim that his counsel was ineffective, as alleged in Part I of his

  amended motion, is grounded in the Sixth Amendment and is therefore

  cognizable under 28 U.S.C. § 2255. See Lynn v. United States, 365 F.3d 1225,

  1234 n.17 (11th Cir. 2004) (ineffective assistance claims should be decided in

  section 2255 proceedings). Further, as alleged, Petitioner’s claims in Part II also

  appear to be cognizable under 28 U.S.C. § 2255.




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         D.     Merits

                1. Petitioner’s Claim of Ineffective Assistance of Counsel in Part I
                   Should be Denied

         Notwithstanding the fact that Petitioner expressly waived his right to

  appeal in his Plea Agreement (Doc. 36 at 13),3 in Part I of his amended § 2255

  motion the Petitioner alleges that his trial attorney provided ineffective

  assistance of counsel by failing to consult with Petitioner regarding his right to

  appeal, and by ignoring Petitioner’s request to file a direct appeal on his behalf.

  Civ. Doc. 1 at 3 (“Attorney [Roy] Foxall never consulted with [Petitioner] about

  a direct appeal, and once [Petitioner] asked him to file a direct appeal, [Foxall]

  clearly ignored him.”). In support of his claim, Petitioner attached two letters

  he purportedly sent to his attorney after sentencing in his case, both of which

  indicate they were “return[ed] to sender.” See Civ. Doc. 1-2 and 1-3.

         To succeed on an ineffective assistance of counsel claim, a petitioner must

  show that (1) his counsel’s performance was deficient, and (2) the deficient

  performance prejudiced his defense. See Strickland v. Washington, 466 U.S. 668,

  687 (1984). When evaluating performance, this Court must apply a “strong

  presumption” that counsel has “rendered adequate assistance and [has] made all




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          Petitioner waived his right to appeal his sentence except under certain narrow
  circumstances that are not present here.



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   significant decisions in the exercise of reasonable professional judgment.” Id. at

   690.

          The test has nothing to do with what the best lawyers would have
          done. Nor is the test even what most good lawyers would have
          done. We ask only whether some reasonable lawyer at the trial
          could have acted, in the circumstances, as defense counsel acted at
          trial. . . . We are not interested in grading lawyers' performances;
          we are interested in whether the adversarial process at trial, in fact,
          worked adequately.

   Waters v. Thomas, 46 F.3d 1506, 1512 (11th Cir. 1995) (en banc; quoting White v.

   Singletary, 972 F.2d 1218, 1220–21 (11th Cir. 1992)).

          To establish deficient performance, a petitioner must show that “no

   competent counsel would have taken the action that his counsel did take.” See

   Chandler v. United States, 218 F.3d 1305, 1315 (11th Cir. 2000) (en banc). A

   petitioner demonstrates prejudice only when he establishes “a reasonable

   probability that, but for counsel’s unprofessional errors, the result of the

   proceeding would have been different.” Strickland, 466 U.S. at 694. “A reasonable

   probability is a probability sufficient to undermine confidence in the outcome.”

   Id. If the petitioner fails to establish either of the Strickland prongs, his claim fails.

   See Maharaj v. Sec’y, Dep’t of Corr., 432 F.3d 1292, 1319 (11th Cir. 2005).

          In Roe v. Flores-Ortega, 528 U.S. 470, 477 (2000), the Supreme Court held

   that an attorney who disregards instructions from his client to appeal has acted

   “in a manner that is professionally unreasonable.” When an attorney fails to




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   follow express instructions to appeal, prejudice is presumed. Flores-Ortega, 528

   U.S. at 483. Accordingly, if a section 2255 petitioner alleges that he expressly

   instructed his attorney to file an appeal and the attorney failed to do so, the district

   court must make a factual determination whether the allegation is true and, if it

   is true, the petitioner is entitled to a belated appeal. See, e.g., Gomez-Diaz v. United

   States, 433 F.3d 788, 790-92 (11th Cir. 2005).

          In contradiction to the Petitioners claim that his trial attorney failed to

   consult with him regarding an appeal and failed to file a notice of appeal when

   instructed to do so, Petitioner’s trial attorney Roy Foxall submitted a statement

   to the undersigned, which has been attached to this Response as Exhibit One. In

   his statement, Mr. Foxall explains: “I met with [Petitioner] on August 2, 2019, at the

   Charlotte County Jail. I discussed an appeal with [Petitioner] and that I had no basis to

   so and [Petitioner] agreed. . . . [Petitioner] never requested an appeal nor did I ever receive

   the letters attached to his motion.”        Because defense counsel consulted with

   Petitioner regarding his right to appeal, Petitioner agreed with his counsel’s

   advice not to file an appeal, and his counsel never received any directive from

   Petitioner to the contrary, Petitioner cannot meet his burden of proof on his claim

   of ineffective assistance of counsel, and it should be denied by this Court.




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                2. Petitioner’s Claims in Part II Should be Denied

         In Part II of his amended § 2255 motion, the Petitioner raises three

   “issues” for which he alleges his conviction and sentence should be vacated. As

   discussed below, each of the three issues are meritless, and should be summarily

   denied.

         First, the Petitioner alleges that he “suffered a due process violation,”

   because “Hobbs Act Robbery,” his crime of conviction in Count One, “is

   unconstitutionally vague.” Civ. Doc. 7 at 15 (“Issue 1”). In support of his

   argument, the Petitioner states that “the language of the Hobbs Act Robbery is

   identical to the language of 18 U.S.C. § 924(c)(3)(B) and 18 U.S.C. § 16,” and

   since the latter two statutes contain unconstitutionally vague residual clauses,

   the Hobbs Act Robbery statute is likewise unconstitutionally vague.           Id.

   Unfortunately for the Petitioner, his premise—that “they all possess the

   unconstitutionally vague residual clause”—is false. Id. at 18. The Hobbs Acts

   Robbery statute, which the Petitioner quotes verbatim in his motion, actually

   contains no residual clause.    Compare 18 U.S.C. § 1951(a) with 18 U.S.C.

   § 924(c)(3)(B) and 18 U.S.C. § 16. Further, Petitioner does not cite any relevant

   caselaw or advance any other coherent argument that supports his position in

   “Issue 1.” As such, Petitioner cannot meet his burden of proof, and his claim

   under “Issue 1” should be denied.




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         Second, the Petitioner alleges that his § 924(c) conviction in Count Two

   should be vacated because it is not properly predicated on a crime of violence

   or a drug trafficking crime. Civ. Doc. 7 at 20-22 (“Issue 2”). In support of his

   position, Petitioner cites to United States v. Davis, 139 S. Ct. 2319 (2019), which

   held that 924(c)’s residual clause, found in 18 U.S.C. § 924(c)(3)(B), is

   unconstitutionally vague. “Although Davis invalidated the residual clause, §

   924(c)(3)(B), it left intact the elements clause, § 924(c)(3)(A), which defines a

   crime of violence as a felony that ‘has as an element the use, attempted use, or

   threatened use of physical force against the person or property of another.’”

   United States v. Harris, --- Fed. App’x. ---, 2020 WL 6947347 (11th Cir. 2020)

   (citing 18 U.S.C. § 924(c)(3)(A) and Davis, 139 S. Ct. at 2323–24). In this case,

   under Eleventh Circuit precedent, Petitioner’s substantive Hobbs Act Robbery

   conviction still qualifies as a crime of violence under the elements clause. Smiley

   v. United States, 819 Fed. App’x 850, 852 (11th Cir. 2020) (“Thus, under the

   prior panel precedent rule, Hobbs Act robbery, aiding and abetting Hobbs Act

   robbery, and attempted Hobbs Act robbery all categorically qualify as crimes of

   violence under § 924(c)’s elements clause.”). As such, Petitioner’s cannot meet

   his burden of proof, and his claim under “Issue 2” should be denied.

         Third, the Petitioner alleges that he “never discharged a firearm” and

   “did not know that his associate was going to discharge [a firearm],” so his




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   conviction in Count Two should be vacated. Civ. Doc. 7 at 22-25 (“Issue 3”).

   In support of his position, the Petitioner cites to Rehaif v. United States, 139 S.

   Ct. 2191 (2019).      Although the Petitioner may now wish to attribute the

   discharge of the firearm to his co-conspirator, those are not the facts of this case.

   Instead, Petitioner’s allegation that he “never discharged a firearm” is directly

   and conclusively refuted by his own sworn admission in his Plea Agreement.

   Specifically, the Petitioner acknowledged the truth of the following statement

   in his Plea Agreement’s factual basis section: “[Petitioner] Santos discharged his

   Sig Sauer firearm at T.G.J., striking T.G.J. in the chest with a single bullet.” Doc. 36

   at 18. As such, Petitioner cannot meet his burden of proof, and his claim under

   “Issue 3” should be denied.

          E.     Need for an Evidentiary Hearing

          The Petitioner has the burden of establishing the need for an evidentiary

   hearing, see Birt v. Montgomery, 725 F.2d 587, 591 (11th Cir. 1984) (en banc), and

   he would be entitled to a hearing only if his allegations, if proved, would establish

   a right to collateral relief, see Townsend v. Sain, 372 U.S. 293, 307 (1963). A district

   court deciding a section 2255 motion may “order . . . its summary dismissal ‘[i]f

   it plainly appears from the face of the motion and . . . exhibits and the prior

   proceedings in the case that the movant is not entitled to relief[.]’” Broadwater v.

   United States, 292 F.3d 1302, 1303 (11th Cir. 2003) (quotations omitted).




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   Accordingly, no hearing is required when the record establishes that a section

   2255 claim lacks merit, see United States v. Lagrone, 727 F.2d 1037, 1038 (11th Cir.

   1984), or that it is defaulted, see McCleskey v. Zant, 499 U.S. 467, 494 (1991).

          In this case, Petitioner is only entitled to an evidentiary hearing on his

   ineffective assistance of counsel claim in Part I, because he has sufficiently raised

   factual contentions that would warrant relief, if true. Petitioner’s additional

   claims, raised in Part II, should all be summarily denied without an evidentiary

   hearing, as they are “patently frivolous” or “affirmatively contradicted by the

   record.” See Aron v. United States, 291 F.3d 708, 715 (11th Cir. 2002) (“[W]e have

   stated that a district court is not required to hold an evidentiary hearing where

   the petitioner’s allegations are affirmatively contradicted by the record, or the

   claims are patently frivolous[.]”).

          III. CONCLUSION

          THEREFORE, the United States respectfully requests that this Court

   summarily deny Petitioner’s 28 U.S.C. § 2255 motion.

                                             Respectfully submitted,

                                             MARIA CHAPA LOPEZ
                                             United States Attorney

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                         CERTIFICATE OF SERVICE

         I hereby certify that on February 2, 2021, a true and correct copy of the

   foregoing document and the notice of electronic filing were sent by United

   States Mail to the following non-CM/ECF participant:


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